

Matter of Turgeon (2018 NY Slip Op 01990)





Matter of Turgeon


2018 NY Slip Op 01990


Decided on March 22, 2018


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: March 22, 2018


[*1]In the Matter of EVAN NATHANIEL TURGEON, an Attorney. 
(Attorney Registration No. 5028170)

Calendar Date: March 19, 2018

Before: McCarthy, J.P., Clark, Mulvey, Aarons and Rumsey, JJ.


Evan Nathaniel Turgeon, Falls Church, Virginia, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Evan Nathaniel Turgeon was admitted to practice by this Court in 2012 and lists a business address in Washington, D.C. with the Office of Court Administration. Turgeon now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a])[FN1]. The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Turgeon's application.
Upon reading Turgeon's affidavit sworn to January 26, 2018 and filed March 2, 2018, and upon reading the March 14, 2018
correspondence in response by the Chief Attorney for AGC, and having determined that Turgeon is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
McCarthy, J.P., Clark, Mulvey, Aarons and Rumsey, JJ., concur.
ORDERED that Evan Nathaniel Turgeon's application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further
ORDERED that Evan Nathaniel Turgeon's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Evan Nathaniel Turgeon is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Turgeon is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Evan Nathaniel Turgeon shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.



Footnotes

Footnote 1: Turgeon's previous application seeking leave to resign from the New York bar was denied by order of this Court (148
AD3d 1458 [2017]).






